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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

MATTHEW BURGOYNE,

              Plaintiff,                             Case No. 1:20-cv-511-CWD

      v.                                             DISCOVERY PLAN

ROCK CREEK FIREFIGHTERS
ASSOCIATION, INC. et al.,

              Defendants.




 I.   Preservation

           a. Preservation & Proportionality: The parties have applied the

              proportionality standard in Rule 26(b)(1) to determine what information

              should be preserved and what information should not be preserved.

           b. Electronically Stored Information (ESI): With regard to ESI, the parties

              agree that:

                  i. Date Range: Only ESI created or received between November

                     2017 and the present will be preserved;

                 ii. Scope of Preservation: The parties agree to:

                           1. Preserve the Following Types of ESI

                                 a. All notes, records, reports, interviews, investigations,

                                    files, statements, bills, diaries, drawings, illustrations,


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                      notes, journals, summaries, emails, writings, messages,

                      correspondence, communications, mermoranda,

                      policies, agendas, schedules, logs, calendars,

                      directives, and instructions regarding all the

                      claims in the Complaint, including but not limited to:

                          i. Plaintiff’s employment with Defendants;

                         ii. Defendants’ accommodation of Plaintiff’s

                             disability;

                        iii. Defendants or their staff’s interaction with

                             Plaintiff;

                        iv. Defendants or their staff’s treatment of Plaintiff;

                         v. Defendants’ termination of Plaintiff;

                        vi. Defendants’ disciplinary system;

                        vii. Defendants’ policies relating to people with

                             disabilities;

                       viii. Defendants’ relationship with thirty parties,

                             including the Southern Idaho Regional

                             Communications Center (“SIRCOMM”);

                        ix. Defendants or their staff’s communications with

                             thirty parties, including the Southern Idaho

                             Regional Communications Center

                             (“SIRCOMM”) relating to Plaintiff;
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              2. From the Following Custodians or Job Titles:

                     a. All Custodians of the parties.

              3. From the Following Systems, Servers, or Databases

                     a. Individual computers (including laptops, desktops,

                         etc.); all servers, cloud-based servers, comprehensive

                         mail storage systems, or web-accessible email

                         services; and handheld devices, such as smartphones

                         or tablets.

       iii. Preserved But Not Searched: These data sources are not

           reasonably accessible because of undue burden or cost pursuant to

           Rule 26(b)(2)(B) and ESI from these sources will be preserved but

           not searched, reviewed, or produced:

              1. None.

       iv. Not Preserved: Among the sources of data the parties agree are not

           reasonably accessible pursuant to Rule 26(b)(2)(B), and shall not be

           preserved, are the following:

              1. Materials generated prior to the time plaintiff filed his

                 Charge of Discrimination with the EEOC may no longer be

                 available because they were lost, destroyed or otherwise

                 deisposed of prior to the attachment of any preservation

                 obligation. To the extent such materials exist, the parties

                 agree to preserve and produce them if otherwise responsive to
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                          a valid discovery request and subject to any objections or

                          privileges that may apply.

               v. ESI Retention Protocols: Going forward, the parties agree [not to

                   modify] the document and ESI retention/destruction protocols of

                   [party].

               vi. Cost Sharing:

                          ☐[The parties agree to share the cost of an electronic

                          discovery vendor; shared document repository; or other cost

                          saving measures]

                          ☒[The parties agree to bear their own costs for preservation

                          of e-discovery]

 II.   Initial Disclosures

         a. The parties agree to modify the deadlines in Rule 26(a) to allow initial

            disclosures to be provided on the following dates:

                 • Plaintiffs:      May 14, 2021.

                 • Defendants: May 14, 2021.

III.   Scope of Discovery

         a. Scope: Discovery is necessary on the following subjects/issues:

                 • For Plaintiff:

                       1. Discovery pertaining to all claims alleged in Plaintiff’

                          complaint.
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                       2. Discovery pertaining to all defenses alleged in Defendants’

                          answer.

                       3. All facts underlying and relating to expert discovery;



                 • For Defense:

                       4. All facts underlying and relating to Plaintiff’s claims;

                       5. All facts underlying and relating to Plaintiff’s damages;

                       6. All facts underlying and relating to Defendant’s defenses;

                       7. All facts underlying and relating to expert discovery;

IV.   Discovery Boundaries

        a. Limits: The parties agree to limit the number of discovery tools as

            follows:

                   ☒Depositions:                10

                   ☒Interrogatories:            25

                 ☐Requests for Production:

V.    ESI

        a. Checklist: The Court has attached the “Checklist” for ESI Discovery

            prepared by the Federal District Court for the Northern District of

            California to assist counsel in their meet-and-confer session. Counsel

            should refer also to Dist. Idaho L. Rule 16.1(b).


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  b. Proportionality: Although not a hard and fast rule, a party from whom ESI

     has been requested in the typical case will not be expected to search for

     responsive ESI:

          • from more than 15 key custodians;

          • that was created more than 5 years before the filing of the lawsuit;

          • from sources that are not reasonably accessible without undue

            burden or cost; or

          • for more than 160 hours, inclusive of time spent identifying

            potentially responsive ESI, collecting that ESI, searching that ESI,

            and reviewing that ESI for responsiveness, confidentiality, and for

            privilege or work product protection. The producing party must be

            able to demonstrate that the search was effectively designed and

            efficiently conducted.

  c. ESI File Format: The parties agree to produce documents in the following

     file format[s] [check any that apply]:

            ☒PDF;

            ☒TIFF;

            ☒Native; and/or

            ☐Paper.

  d. ESI Production Format: The parties agree that documents will be

     produced [check any that apply]:

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            ☒with logical document breaks;

            ☒as searchable;

            ☐with load fields enabling review in common litigation databases

            such as Summation and Concordance;

            ☐with metadata, and, if so, in the following fields: __________.

  e. ESI Search Methodology: The parties have agreed to use the following

     search methodology:

            ☐Predictive coding (or technology assisted review);

            ☒ Keyword search;

            ☐Other: _________________.

  f. Search Methodology – Transparency: The parties agree that they will

     share their search methodology for responding to requests for production of

     ESI to the following extent: Search terms.

  g. General ESI Production vs. E-mail Production: The parties agree that

     general ESI production requests under Federal Rules of Civil Procedure 34

     and 45, or compliance with a mandatory disclosure order of this court, shall

     include e-mail or other forms of electronic correspondence (collectively “e-

     mail”).

  h. E-mail Custodian List Exchange: On or before May 15, 2021, the parties

     agree to exchange lists identifying (1) likely e-mail custodians, and (2) a



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     specific identification of the [15] most significant listed e-mail custodians

     in view of the pleaded claims and defenses.

  i. Discovery Re E-mail Custodians, Search Terms & Time Frames: Each

     requesting party may propound up to [5] written discovery requests and

     take [one] deposition per producing party to identify the proper custodians,

     proper search terms, and proper time frame for e-mail production requests.

     The court may allow additional discovery upon a showing of good cause.

  j. Form of E-mail Production Requests: E-mail production requests shall

     identify the custodian, search terms, and time frame. The parties shall

     cooperate to identify the proper custodians, proper search terms, and proper

     time frame.

  k. Limits on E-mail Production Requests – Custodians: Each requesting

     party shall limit its e-mail production requests to a total of [8] custodians

     per producing party for all such requests. The parties may jointly agree to

     modify this limit without the court’s leave.

  l. Limits on E-mail Production Requests – Keyword Search Terms: Each

     requesting party shall limit its e-mail production requests to a total of [10]

     keyword search terms per custodian per party. The parties may jointly agree

     to modify this limit without the court’s leave. The keyword search terms

     shall be narrowly tailored to particular issues. Indiscriminate terms, such as

     the producing company’s name or its product name, are inappropriate



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             unless combined with narrowing search criteria that sufficiently reduce the

             risk of overproduction.

          m. Liaison: Each party [will identify] a Liaison who is responsible for, and

             knowledgeable about (or has access to a person knowledgeable about), that

             party’s ESI. This includes the technical aspects of e-discovery, including

             the location, nature, accessibility, format, collection, search methodologies,

             and production of ESI in this matter. The parties will rely on the Liaisons,

             as needed, to confer about ESI and to help resolve disputes without court

             intervention.

 VI.    Deadlines

          a. The deadline for the completion of fact discovery is: November 30, 2021

          b. The deadline for completion of expert witness discovery is: November 30,

             2021

VII.    Phased or Issue-Specific Discovery

             The parties agree that discovery will not be conducted in phases.

VIII.   Documents Protected From Discovery

          a. Clawback: Pursuant to Fed. R. Evid. 502(d), the parties must request the

             Court to enter an Order that production of a privileged or work-product-

             protected document, whether inadvertent or otherwise, is not a waiver of

             privilege or work-product protection in this case or in any other federal or

             state proceeding. The Court will enter such an order in its CMO unless the
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           parties object or otherwise request that no such order be issued during the

           telephone scheduling conference.

        b. Quick Peek: The parties

                  ☒[agree that a “quick peek” process pursuant to Fed.R.Civ.P.

                  26(b)(5) is not necessary in this case]

                  ☐[agree to a “quick peek” process pursuant to Fed.R.Civ.P.

                  26(b)(5) as set forth herein: ________________________].

        c. Post-Complaint Communications: Communications involving trial

           counsel that post-date the filing of the complaint need not be placed on a

           privilege log. Communications may be identified on a privilege log by

           category, rather than individually, if appropriate.

IX.   Protective Order

        a. The parties have agreed to the terms of a Protective Order to protect [trade

           secrets, proprietary material, personal information, etc] and will submit

           that to the Court for its approval.

        b. The parties understand that, even if they agree to seal material filed with the

           Court, they must still file a motion to seal and obtain Court approval that

           the sealing meets the Ninth Circuit standards for sealing. See Kamakana v.

           City and County of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006).




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Dated: April 28, 2021

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